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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

KASSIA COMPTON,

       Plaintiff,

v.                                                        Case No. 6:20-cv-1327-Orl-37LRH

ADVANCE AUTO LOCKSMITH, INC.;
DARRAN DENT; and RICHARD
WILKINSON,

      Defendants.
_____________________________________

                                          ORDER

       This matter is before the Court sua sponte. Defendant Richard Wilkinson,

proceeding pro se, filed an answer in this case for himself and Defendant Advance Auto

Locksmith, Inc. (Doc. 10 (“Answer”).) But a corporation must be represented by counsel.

See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985).

       Accordingly, it is ORDERED AND ADJUDGED:

       1.     The Answer (Doc. 10) is STRICKEN as to Defendant Advance Auto

              Locksmith, Inc.

       2.     Defendant Advance Auto Locksmith, Inc. is DIRECTED to have counsel

              file a notice of appearance on its behalf by Wednesday, September 9, 2020,

              or be subject to default upon a motion by Plaintiff.

       DONE AND ORDERED in Chambers in Orlando, Florida, on September 2, 2020.




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Copies to:
Counsel of Record
Pro Se Party




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